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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

                                                        §
MELISSA KATZ                                            §
                                                        §
                       Plaintiff,                       §
                                                        §             C.A. NO. ____________
v.                                                      §
                                                        §
OPENTABLE, INC. and THE PRICELINE                       §            JURY TRIAL DEMANDED
GROUP, INC.                                             §
                                                        §
                       Defendant.                       §
                                                        §



                           PLAINTIFF'S ORIGINAL COMPLAINT

       Plaintiff Melissa Katz (“Plaintiff” or “Katz”) hereby files, through her counsel of record,

this Original Complaint, on personal knowledge as to all matters regarding herself and upon

information and belief as to all other matters, against OpenTable, Inc. (“OpenTable”) and The

Priceline Group, Inc. (“Priceline”) and would respectfully show the Court as follows:

                                                  I.

                                       NATURE OF SUIT

       1.      This claim arises under the Americans with Disabilities Act, the Family Medical

Leave Act, and the Age Discrimination in Employment Act. As set forth in more detail below,

Plaintiff was terminated by Defendants because of a disability, her age, seeking leave and in

retaliation for engaging in protected conduct. Said conduct has damaged Plaintiff within the

jurisdictional limits of this Court as to be determined by a jury.




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                                                  II.

                                    JURISDICTION AND VENUE

       2.      This court has jurisdiction because this controversy is based upon federal

questions under the Age Discrimination in Employment Act (“ADEA”), 29 U.S.C. §§ 621 et

seq., the Family Medical Leave Act, 29 U.S.C. §§ 2601 et. seq. and the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §§ 12101 et seq.

       3.      Venue for all causes of action stated herein lies in the Western District of Texas

because the acts alleged in this Complaint took place, in whole or in part, within the boundaries

of this District, pursuant to 28 U.S.C. § 1391.

                                                  III.

                                            PARTIES

       4.      Plaintiff Melissa Katz is an individual residing in Collin County, Texas.

       5.      The Priceline Group, Inc. is a foreign corporation with its principal place of

business in the United States in Norwalk Connecticut. Priceline may be served with service of

process upon its registered agent in the state of Texas, CORPORATION SERVICE COMPANY

DBA CSC - LAWYERS INCORPORATING SERVICE COMPANY, 211 E. 7th Street, Suite

620, Austin, Texas 78701.

       6.      OpenTable is a foreign corporation with its principal place of business in the

United States in San Francisco, California. OpenTable is a subsidiary of The Priceline Group.

OpenTable may be served with service of process upon its registered agent, CT Corporation

System, 818 W. Seventh Street, Suite 930, Los Angeles, CA 90017.




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                                                     IV.

                                 FACTS APPLICABLE TO ALL COUNTS

        7.      Defendant OpenTable is an online reservation company for restaurants. 1

Plaintiff was employed by OpenTable as an Account Manager/Hybrid (“Account Manager”) for

approximately four years until her termination on or about March 30, 2015. As an Account

Manager, Plaintiff was responsible for securing new business from restaurants in the Austin and

San Antonio markets and for maintaining/servicing existing accounts for the OpenTable

reservation service. Throughout her four year career, Plaintiff excelled on all fronts for the

Company including restoring and helping secure significant growth for the Austin and San

Antonio markets. She was repeatedly recognized for her efforts, most recently on January 27,

2015 when she received a “top producer” award which included an all expense paid trip for two

to Mexico.

        8.      On February 27, 2015, Plaintiff took leave under OpenTable's FMLA policy to

treat an eating disorder. Plaintiff made OpenTable aware of her condition including her direct

supervisor, Kristina Weiss and OpenTable/Priceline HR representatives Ryan Ward and Sang

Almazzo. For her part, Plaintiff was concerned about her job remaining available while she was

out and inquired about the issue with Mr. Ward. Mr. Ward confirmed that her position would be

available under Defendants' FMLA policies.

        9.      From approximately February 28, through March 29, 2015, Plaintiff received

treatment for her disability from a “partial hospitalization” facility in the Austin area. Though on

leave, Plaintiff remained available and regularly forwarded customer issues and requests she

received by text/phone to Ms. Weiss. Plaintiff was happy to help in this regard as she wanted to


        1
                    In or about April 2014, OpenTable was acquired by The Priceline Group, Inc. and thereafter
Plaintiff was eligible for stock grants from Priceline as an employee of OpenTable.


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service her large customer base – as well to make sure new and prospective clients were not

overlooked in her absence. In fact, coming back to work as soon as possible was a major

motivation during Plaintiff’s treatment– and, to that end, Plaintiff opted for a shorter treatment

plan out of concern for her customers and servicing her territory.

       10.     Plaintiff was scheduled to return to work without restrictions on March 30, 2015.

As previously instructed in an email message from Ms. Sang, Plaintiff called her supervisor (Ms.

Weiss) at 8:00 a.m. on March 30, 2015 to get an update of her territory and any directives going

forward. Instead of receiving that “update,” Plaintiff was told by Ms. Weiss and Ms. Almazzo

that she was being terminated for alleged “customer complaints” received against her while she

was on leave. This was the first time Plaintiff was made aware of the alleged complaints.

Plaintiff had not been under any disciplinary plan or issues as of the date of her termination and

had had only one minor issue two years earlier associated with a customer issue.

       11.     Plaintiff has since learned that she was replaced by Terez Percenti.            On

information and belief, Ms. Percenti is under 40 years of age.

       12.     While Plaintiff disputes receiving customer complaints and believes the stated

reason for her discharge is pretextual, Defendant has treated similarly situated employees more

favorably than Plaintiff– including but not limited to Anna Thrash, Michael Malloy, Kim

Trouarad, Shelley Broussard, and Josh Gottlieb - each of whom have received multiple customer

complaints and were not terminated.

       13.     Plaintiff has experienced significant emotional distress as a result of her abrupt

discharge by Defendant – including requiring medical treatment related to her disability. Plaintiff

jointly filed a charge of discrimination against OpenTable with the Equal Employment

Opportunity Commission and the Texas Workforce Commission on May 7, 2015. The EEOC




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issued a right to sue on the same day, a copy of which is attached as Exhibit A. Plaintiff jointly

filed a charge of discrimination against the Priceline Group, Inc. on June 26, 2015. The EEOC

issued a right to sue on June 30, 2015, a copy of which is attached as Exhibit B.



                                                 V.

                                      CAUSES OF ACTION

                                          FIRST COUNT

                       DISABILITY DISCRIMINATION IN VIOLATION OF
                           AMERICANS WITH DISABILITIES ACT


        14.      The foregoing paragraphs of this Complaint are incorporated in this Count as fully

as if set forth at length herein.

        15.      Plaintiff is an employee within the meaning of the ADA and suffers from a

disability.

        16.      Defendants are employers within the meaning of the ADA.

        17.      All conditions precedent to filing this action for discrimination under federal law

have been met. Plaintiff timely filed her charge of discrimination on the basis of disability with

the EEOC, and the EEOC has within ninety (90) days of filing this lawsuit issued Notice of Right

to Sue to Plaintiff.

        18.      Defendants have violated the ADA, as amended, by discriminating and/or

retaliating against Plaintiff in connection with compensation, terms, conditions or privileges of

employment because of Plaintiff's disability, and because Plaintiff engaged in protected activity,

including seeking accommodation under the ADA.




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        19.      Defendants have engaged in a single, continuous course of conduct of

discrimination and retaliation against Plaintiff because of her disability in order to destroy

Plaintiff, her career, and her professional life.

        20.      Defendants maliciously and recklessly violated their own established rules and

procedures.

        21.      Plaintiff is entitled to an award of attorney fees and costs under 42 U.S.C. §§

12010 et. Seq.

        22.      Such discrimination by Defendants against Plaintiff was intentional. Accordingly,

Plaintiff is entitled to recover damages from Defendants for back pay, front pay, past and future

pecuniary losses, emotional pain and suffering, inconvenience, loss of enjoyment of life and other

nonpecuniary losses. Further, this discrimination was done by Defendants with malice or with

reckless indifference to Plaintiff's federally protected rights. Plaintiff is therefore also entitled to

recover punitive damages.




                                          SECOND COUNT

            DISCRIMINATION BECAUSE OF AGE IN VIOLATION
  OF THE AGE DISCRIMINATION IN EMPLOYMENT ACT AND CHAPTER 21 OF
                      THE TEXAS LABOR CODE

        23.      The foregoing paragraphs of this Complaint are incorporated in this Count by

reference as fully as if set forth at length herein.

        24.      Plaintiff Melissa Katz is an individual who is over 40 years old. At the time of

the discrimination the Plaintiff was over 40 years old.

        25.     Plaintiff is qualified to perform the essential functions of Account Manager.

Defendants have intentionally discriminated against Plaintiff because of her age, by treating


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Plaintiff in a discriminatory manner compared with her younger peers and terminating Plaintiff

in violation of the ADEA.

        26.     All conditions precedent to filing this action for age discrimination under state

and federal law have been met. Plaintiff timely filed her charge of age discrimination. The

EEOC within the past ninety (90) days preceding filing this lawsuit, issued a Notice of Right to

Sue.

        27.     Defendants have engaged in a single continuous course of conduct of

discrimination against Plaintiff because of Plaintiff’s age.

        28.     Such    discrimination    by   Defendants      against   Plaintiff   was   intentional.

Accordingly, Plaintiff is entitled to recover damages from Defendants for back pay, front pay,

benefits, future pecuniary losses, emotional pain and suffering, inconvenience, loss of enjoyment

of life, other nonpecuniary losses, and compensatory damages. Further, this discrimination was

willful. Plaintiff is therefore also entitled to recover liquidated damages. Plaintiff is also entitled

to recover all costs of Court and attorney's fees.



                                THIRD COUNT - RETALIATION

        29.     The foregoing paragraphs of this Complaint are incorporated in this Count by

reference as if set forth at length herein.

        30.     Defendants have retaliated against Plaintiff for engaging in protected activities by

terminating Plaintiff. Defendants have thereby intentionally engaged in unlawful employment

practices prohibited by 42 U.S.C. §§ 2000e et seq. and 29 U.S.C. §§ 623(d).

        31.     All conditions precedent to filing this action for discrimination and retaliation

under federal law have been met. Plaintiff timely filed his charge of retaliation based upon

protected activities.


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        32.     Defendants have engaged in a single continuous course of conduct of retaliation

against Plaintiff because of Plaintiff's seeking accommodation based upon disability.

        33.     Such retaliation by Defendants against Plaintiff was intentional. Accordingly,

Plaintiff is entitled to recover reinstatement and damages from Defendants for back pay, front

pay, future pecuniary losses, emotional pain and suffering, inconvenience, loss of enjoyment of

life and other non-pecuniary losses. Further, this retaliation was done by Defendants with

intentional malice or with reckless indifference to Plaintiff's protected rights. Such retaliation

constitutes gross, wanton, reckless, and/or intentional violation of Plaintiff's rights. Plaintiff is

therefore also entitled to recover punitive and/or liquidated damages. Plaintiff is also entitled to

recover all costs of Court, and attorney's fees.

                                             FOURTH COUNT

                  DISCRIMINATION/RETALIATION UNDER THE FMLA

      34.       The foregoing paragraphs of this Complaint are incorporated in this Count as fully

as if set forth at length herein.

      35.       Plaintiff is an employee within the meaning of the Family Medical Leave Act and

took leave consistent with the Act.

      36.       Defendants are employers within the meaning of the FMLA.

      37.       All conditions precedent to filing this action for discrimination under Federal law

have been met.

      38.       Defendants have violated the FMLA, as amended, by discriminating and/or

retaliating against Plaintiff in connection with compensation, terms, conditions or privileges of

employment because Plaintiff engaged in protected activity by taking leave protected by the

FMLA.




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      39.      Defendants have engaged in a single, continuous course of conduct of

discrimination and retaliation against Plaintiff because of Plaintiff's taking FMLA leave.

      40.      Plaintiff is entitled to an award of attorney fees and costs under the FMLA.

      41.      Such discrimination by Defendants against Plaintiff was intentional and against

their own established rules and procedures. Accordingly, Plaintiff is entitled to recover damages

from Defendants for back pay, front pay, past and future pecuniary losses, emotional pain and

suffering, inconvenience, loss of enjoyment of life and other non pecuniary losses. Further, this

discrimination was done by Defendant with malice or with reckless indifference to Plaintiff's

protected rights. Plaintiff is therefore also entitled to recover punitive damages.

                                                    VI.

                                         JURY DEMAND

       Plaintiff hereby requests a trial by jury.

                                                VII.

                                    REQUEST FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be cited

to appear and answer herein, and that on final trial, Plaintiff have and recover the following relief

against Defendants:

               a.      Judgment for actual damages in the amount of past and future lost earnings
                       and benefits and damages to past and future earnings capacity as well as
                       lost retirement benefits;

               b.      Judgment for back pay and front pay as allowed by law;

               c.      Judgment for past and future pecuniary losses, emotional pain and
                       suffering, inconvenience, loss of enjoyment of life and other nonpecuniary
                       losses;

               d.      Damages for past and future mental anguish, emotional distress, and
                       physical distress;



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              e.       Exemplary damages in an amount to be determined by the trier of fact;

              f.       Prejudgment and post-judgment interest at the maximum legal rate;

              g.       All costs of Court;

              h.       Attorneys' fees;

              i.       Such other and further relief to which Plaintiff may be justly entitled.

Dated: July 10, 2015
                                                      Respectfully submitted,

                                                      KILGORE & KILGORE, PLLC

                                                         By: /s/ Theodore C. Anderson
                                                             Theodore C. Anderson
                                                             State Bar No. 01215700
                                                             Attorney-in-Charge

                                                      3109 Carlisle
                                                      Dallas, Texas 75204
                                                      (214) 969-9099 - Telephone
                                                      (214) 953-0133 – Facsimile


                                              ______________________________
                                              Clay A. Hartmann
                                              Texas State Bar No. 00790832

                                             THE HARTMANN FIRM, PC
                                             6677 Gaston Avenue
                                             Dallas, Texas 75214
                                             214-828-1822
                                             ATTORNEYS FOR PLAINTIFF




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   EEOC Form 161-8(11/09)                   U.S.   EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                          NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
  To: Melissa L. Katz                                                                    From: Dallas District Office
       5554 Wendover                                                                            207 S. Houston St.
       Frisco, TX 75034                                                                         3rd Floor
                                                                                                Dallas, TX 75202



       in          On behalf of person(s) aggrieved whose identity is
                   CONFIDENTIAL (29 CFR 51601.7(a))

  EEOC Charge No.                                         EEOC Representative                                            Telephone No.
                                                          Sandra C. Taylor,
  450-2015-02387                                          Intake Supervisor                                              (214) 253-2877
                                                                                     (See also the additional information enclosed with this form.)
 NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This Is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been Issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed In a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

                  More than 180 days have passed since the filing of this charge.

                  Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                  be able to complete its administrative processing within 180 days from the filing of this charge.
      pei         The EEOC Is terminating Its processing of this charge.
                  The EEOC will continue to process this charge.
Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
       Ell       The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be flied In federal or state court WITHIN
                 90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

      71         The EEOC is continuing Its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                 you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge Is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 veers (9 years) before you file suit may not be collectible.

if you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                         On behalf of the Commission


                                                                    /1/,cAAJC-         _____--a•                               7A
 Enclosures(s)                                                                                                                (D to Mailed)
                                                                        Janet V. Elizondo,
                                                                         District Director
cc:           OPENTABLE INC                                                            Clay Hartmann
              1 Montgomery Street                                                      6677 Gaston Ave
              Suite 700                                                                Dallas, TX 75214
              San Francisco, CA 94104
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 EEOC Form 191Z (WA)                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                      NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
To: Melissa L.. Katz                                                                   From: Dallas District Office
     5554 Wendover                                                                            207 S. Houston St
     Frisco, TX 75034                                                                         3rd Floor
                                                                                              Dallas, TX 75202



               On behalf of person(s) aggrieved whose identity is
               CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                                       EEOC Representative                                              Telephone No.

                                                      Juan Brucelas-Vazquez,
 450-2015-02999                                        Investigator                                                     (214)253-2827
                                                                                    (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:

Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
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of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

               More than 180 days have passed since the filing of this charge.

               Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
               be able to complete its administrative processing within 180 days from the filing of this charge.

               The EEOC is terminating its processing of this charge.

               The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
               The EEOC is closing your case, Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
               90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

               The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
               you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 veers) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                        On behalf of the Commission




 Enclosures(s)
                                                                                                     fAIL. II- 4             epapx-
                                                                                                                                 ate Ma ed)
                                                                      Janet V. Elizondo,
                                                                       District Director

 cc:

             THE PRICELINE GROUP                                                       Clary A. Hartmann, Esq.
             Attn: Mr. Peter J. Millones, Jr.                                          6677 Gaston Ave
             General Counsel                                                           Dallas, Texas 75214
             800 Connecticut Ave.
             Norwalk, CT 06854
